Case 6:22-cv-00566-RRS-CBW Document 138-1 Filed 08/02/22 Page 1 of 2 PageID #: 2167




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

    IN THE MATTER OF BULLY 1                     CIVIL ACTION NO. 22-566
    (SWITZERLAND)     GMBH,    AS
    OWNER, AND NOBLE DRILLING                    JUDGE ROBERT R. SUMMERHAYS
    (U.S.) LLC, AS OWNER PRO HAC
    VICE, OF THE GLOBETROTTER II                 MAGISTRATE JUDGE               CAROL       B.
                                                 WHITEHURST


                        JOINT PROPOSED SCHEDULING ORDER

             DATE                                  DEADLINE/EVENT

    August 31, 2022        Claimants’/Plaintiffs’ Initial Omnibus Discovery to all
                           Defendants/Limitation Petitioners including Interrogatories,
                           Requests for Production and/or Requests for Admissions
    October 1, 2022        Submit joint proposal for initial case administration (confidentiality,
                           privilege, deposition protocol, document production protocol, and e-
                           discovery protocol)
    November 4 2022        Defendants/Limitation Petitioners’ Initial Omnibus Discovery to all
                           Claimants including Interrogatories, Requests for Production and/or
                           Requests for Admissions
    November 7, 2022       FRCP Rule 26 Disclosure for all parties. All personal injury
                           Claimants to provide FRCP Rule 26 Disclosures on damages only.
    November 15, 2022      Defendants’ Responses to Initial Omnibus Discovery served,
                           including Privilege Logs, identification of the sources of Limitation
                           Petitioners’ electronic data not produced due to alleged inaccessibility
                           or other undue burden or other costs
    November 21, 2022      Amendments to pleadings, third-party actions, cross-claims, and
                           counterclaims shall be filed
    January 18, 2023       Claimants’ Responses to Initial Omnibus Discovery served by
                           Defendants/Limitation Petitioners
    April 7, 2023          Serve May Call Witness and Exhibit Lists

    November 3, 2023       Produce Rule 26 expert reports from parties with burden of proof on
                           negligence and unseaworthiness
    December 15, 2023      Produce Rule 26 expert reports from Limitation Petitioners and
                           Defendants

    December 18, 2023      Deadline for completion of settlement conference with magistrate
                           judge and/or private mediation with all Claimants/Plaintiffs
    January 5, 2024        Produce Rule 26 Rebuttal Expert Reports as defined by Fed. R. Civ.
                           Proc. 26 (a)(2)(B), which rebuttal reports should be strictly limited to

                                             1
Case 6:22-cv-00566-RRS-CBW Document 138-1 Filed 08/02/22 Page 2 of 2 PageID #: 2168




                             opinions in response to Limitation Petitioners’ and/or Defendants’
                             expert reports
    February 26, 2024        Discovery cut off; Complete depositions of all Rule 26 experts

    March 28, 2024           File and serve Daubert Motions and serve all non-evidentiary pretrial
                             motions
    April 18, 2024           File and serve all other motions in limine

    May 6, 2024              Submit Joint Pre-Trial Order

    May 13, 2024 @ 10 A.M.   Pre-trial Conference

    June 3, 2024 @ 9 A.M.    Trial Commences




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